                                 Case 5:17-cv-00079-JLH Document 12 Filed 06/16/17 Page 1 of 2                                                                                       3
,
J (PO€t. 3/l!/14)

I        U.S. Department of Justice                                                          PROCESS RECEIPT AND RETURN
                                                                                             See Instructions for "SeNice of Process by the U.S. Marshal"
         United States Marshals Service                                                      on the reverse of this form.

         PLAINTIFF                                                                                                        COURT CASE NUMBER
           Charles E Hamner, ADC #143063                                                                                     5:17-cv-00079-JLH-BD
        DEFENDANT                                                                                                         TYPE OF PROCESS
           Danny Burls, et al.                                                                                             Summons & Complaint
        SERVE                   NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN




             •
             AT
                             Maurice Williams, Major, Maximum Security Unit
                                ADDRESS Street or RFD, Apartment No., City, State and ZIP Code)

                             P.O. Box 20550
        SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME ANO ADDRESS BELOW:
                                                                                             Pine Bluff, AR
                                                                                                                   c/o ADC Compliance Division


                                                                                                                         71612

                                                                                                               I Number cl process to be
                    I Charles    E Hamner, ADC #143063
                                                                                                                I served with this Fann - 286
                                                                                                                I
                        VARNER SUPERMAX                                                                        : Number of panies to be
                        Arkansas Department of Correction                                                      I served in this case
                        Post Off ice Box 400
                    j   Grady, AR 71644-0400                                                                   :check for service
        - - - - - - - - - ; - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , o n U.S.A.

        SPECIAL INSTRUCTI~ OR an-ER IN'ORMATION THAT WLL ASSIST IN EXPEDITING SERVICE (Include Business
        !..TJ&phone Number, and Estimated Times Available For Service):                      FILED                                             and Alternate Addresses, All

                                                                                                                                                                              Fold
                                                                                         U.S. DISTRICT COURT
                                                                                     EASTERN DISTRICT ARKANSAS

                                                                                           JUN 16 2017
                                                                              JAMES W. McCORMACK. CLERK
                                                                              By:
        Signature of Attorney or other Originator requesting service on behalf ol:                               TELEPHONE NUMBER               :::=i 0. DAT6)
                                                                                             0   PLAINTIFF                                       C/l -      ..
           /s/ M. Frost, Deputy Clerk                                                        0   DEFENDANT        501-604-5351                  ?,!        5/~2017


        SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-DO NOT WRITE BELOW THIS LINE
        I acknowledge receipt for the total
        number of process indicated.
        (Sign only first USM 286 If more
        than one USM 285 Is submitted)
                                                Total Process District
                                                                of Ori~

                                                                No.
                                                                              District
                                                                              to Serve

                                                                             No      o~
                                                                                            ··:s;."'O ., , . ,                        M ....
                                                                                                                                                                   Date


                                                                                                                                                                   s
       I hereby certify and return that I ~ have personally served, 0 have legal evidence of service, 0 have executed as shown in "Remarks", the process described
       on the individual, company, corporation, etc., at the address shown above or on the individual, company, corporation, etc., shown a the address inserted below.

       0   I hereby certify and return that I am unable to locate the individual, company, corporation, etc.,     named above (See remarks below)

        Name and title of individual served (If not shown above)                                                                        A person of suitable age and dis-
                                                                                                                                  0     Cl8tia1 then residing in the defendant's
                                                                                                                                        1111111 place of abode.
        Address (complete only If different than shown above)                                                                     Date of Service         Time


                                                                                                                                                           D5f'c              pm



                                                                                                                              I
            Service Fee      Total Mileage Charges       Forwarding Fee trotal Charges    Advance Deposits    Amount owed to U.S. Marshal or               Amount of Refund


           '°;3v
        REMARKS:
                             (includmg endeavors)
                                                                          (/Jo,                                   ~/J'o                               I

        PRIOR EDITIONS                                                                                                                     FORM USM-285 (Rev. 12/15/80)
        1\14..Y BE USED
                                                                1. CLERK OF THE COURT
                  Case 5:17-cv-00079-JLH Document 12 Filed 06/16/17 Page 2 of 2
-   ., "


                                      Arkansas Board of Corrections
                                          Compliance Division
                                          Post Office Box 20550
                                       White Hall, Arkansas 71612
                                         Phone: (870) 267-6752
                                           Fax: (870) 267-6755


       MEMORANDUM

       TO:           United States Marshals Service, Western District

       FROM:         Chris Coody, Investigator Compliance Division

       RE:           Accepting Service/ Returning Service/Additional Service

       DATE:         June 12 , 2017


       Please be advised that I am Accepting Service on these copies of this lawsuit, case no.
       5:17CV00079, Im. Charles E. Hammer, ADC#143063, v, Danny Burl et al, for the
       following, on this Date: June 12, 2017:

               Danny Burl, Warden, MSU
               Connie Jenkins, Classification, Ester Unit
               Maurice Williams, Major, Grimes Unit
               Steve Outlaw, Deputy Warden, Pine Bluff Unit
               Marvin Evans, Retired, Deputy Director ADC


       This case is assigned to Chris Coody, Investigator for the Compliance Division.

       This case was delivered by U. S. Marshal's Service

       cc:     Attorney General's Office
               Case File
